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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

CARMELO ROMAN, RICARDO
ROMAN-RIVERA and
SDM HOLDINGS, INC., individually           CIVIL 12-1663CCC
and on behalf of all others similarly
situated
Plaintiffs
vs.
UBS FINANCIAL SERVICES, INC.
OF PUERTO RICO; UBS TRUST
COMPANY OF PUERTO RICO;
PUERTO RICO INVESTORS
TAX-FREE FUND IV, INC.; PUERTO
RICO FIXED INCOME FUND III, INC.;
PUERTO RICO FIXED INCOME
FUND V, INC.; PUERTO RICO
INVESTORS BOND FUND I, INC.;
PUERTO RICO AAA PORTFOLIO
BOND FUND, INC.; PUERTO
RICO AAA PORTFOLIO BOND
FUND II, INC.; MIGUEL A. FERRER;
CARLOS J. ORTIZ
Defendants


                                  ORDER

     For the reasons stated in the Opinion and Order entered on August 21,
2017 (d.e. 245), the case is hereby STAYED against defendants UBS Trust
Company of Puerto Rico, Puerto Rico Fixed Income Fund III, Inc. and Puerto
Rico Fixed Income Fund V, Inc. pending the outcome of the arbitration
proceedings.
     SO ORDERED.
     At San Juan, Puerto Rico, on August 25, 2017.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
